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                                                                                                    UNITED STATES DISTRICT COURT
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                                                                                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                                      MUSTAFA FTEJA,                                     Case No.: 12-cv-1010 YGR
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                                                                                                                         ORDER SETTING CASE MANAGEMENT
                                                                  9                Plaintiff,                            CONFERENCE AND DIRECTING DEFENDANT
                                                                                                                         TO FILE RESPONSIVE PLEADING
                                                                 10          vs.
                                                                 11
                                                                      FACEBOOK, INC.,
                                                                 12
                                                                                    Defendant.
                               Northern District of California
United States District Court




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                                                                 15          On April 4, 2011, Defendant Facebook, Inc. filed its Motion to Transfer Venue, to Dismiss, or
                                                                 16   for a More Definite Statement. (Dkt. No. 4.) By order entered January 24, 2012 (Dkt. No. 30), the
                                                                 17   motion to transfer was granted and the instant action was transferred to this district from the Southern
                                                                 18   District of New York. That order did not address the arguments raised in connection with the motion
                                                                 19   to dismiss or for a more definite statement.
                                                                 20          The matter having now been assigned to this Court, it is ORDERED that a case management
                                                                 21   conference is set for Monday, June 11, 2012, at 2:00 p.m. in a courtroom to be designated.
                                                                 22          Defendant Facebook, Inc. is directed to file and serve a responsive pleading no later than
                                                                 23   April 2, 2012.
                                                                 24          IT IS SO ORDERED.
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                                                                      March 19, 2012                                       _______________________________________
                                                                                                                               YVONNE GONZALEZ ROGERS
                                                                 27                                                        UNITED STATES DISTRICT COURT JUDGE
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